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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

BRIAN RANDOLPH,

   Plaintiff,

-vs-                                             CASE NO.: 8:17-CV-816-T-23-JSS

ENCORE RECEIVABLE
MANAGEMENT, INC.,

   Defendant.
                                       /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COMES NOW the Plaintiff, Brian Randolph, and the Defendant, Encore Receivable

Management Inc., and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss,

with prejudice, each claim and count therein asserted by Plaintiff against the Defendant in the

above styled action, with Plaintiff and Defendant to bear their own attorney’s fees, costs and

expenses.

        Respectfully submitted this 2nd day of October, 2017.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 2, 2017, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system and that a Notice of this filing will be sent to the

following by operation of the Court’s Electronic Filing System: Ruel W. Smith, Hinshaw &

Culbertson LLP, 100 S. Ashley Drive, Tampa, FL 33611 (rsmith@hinshawlaw.com;

dkelly@hinshawlaw.com; and vtorres@hinshawlaw.com).

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